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                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF GEORGIA
                           ATHENS DIVISION

 ANDRE DANIELS                          )
                                        )
 Plaintiff,                             )
                                        )       Civil Action File No.: 3:22-cv-
                                        )       00056-CDL
 v.                                     )
                                        )
 BAXALTA US, INC., A                    )
 WHOLLY OWNED                           )
 SUBSIDIARY OF TAKEDA                   )
 PHARMACEUTICALS USA,                   )
 INC.                                   )
                                        )
 Defendant.                             )

                       CONSENT PROTECTIVE ORDER

      It appearing to the Court that discovery in the above-styled action involves

the production or disclosure of some documents, materials, information, and/or

testimony that may contain or comprise confidential and/or proprietary information;

and

      It further appearing to the Court that Plaintiff Andre Daniels and Defendant

Baxalta US, Inc. (collectively, the “Parties”), are agreeable to a protective order

regarding such information;

      NOW, THEREFORE, IT IS HEREBY ORDERED that the following

provisions shall govern the conduct of discovery by the Parties in this litigation:

      1.      “Confidential Information” shall mean:
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               (a) all documents and other things produced or otherwise disclosed in

this matter by the Parties including all copies thereof, where such items are so

designated as provided by this Protective Order (“Order”); and

               (b) all testimony given in this Action by the Parties, its officers,

directors, agents, and/or employees, whether by deposition or otherwise, where such

testimony is so designated as provided by this Order, including all transcript copies

thereof.

      2.       This Order shall apply to discovery of the Parties and any non-parties

who agree to abide by the terms of this Order, and shall apply to all information,

documents and/or things owned or controlled by any party subject to discovery in

this action. This Order shall further govern the production of documents and all

other information supplied in this case in any form by a party or non-party and

designated by that party or non-party as embodying “CONFIDENTIAL

INFORMATION” (including, but not limited to, documents and other information

voluntarily produced by a party or non-party; produced pursuant to stipulation or in

response to interrogatories, document requests, subpoena, or any other discovery

request; as well as information contained in deposition testimony, pleadings, and

briefs) for purposes of discovery or otherwise.

      3.       All documents, things, and/or answers or information exchanged by the

Parties during this case (through counsel or otherwise) are provided solely for the



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legitimate purposes of this litigation among the Parties and may only be used for

such legitimate purposes within this litigation and shall not be used for any other

purpose whatsoever.

      4.      Any document or portion thereof, whether an original or a copy

(including, but not limited to, any exhibits, answers to interrogatories, and/or

responses to requests for admission, as well as physical objects, recordings, or

things) that any party or non-party deems to contain confidential information shall

be labeled on each page of such document considered confidential with the

designation “CONFIDENTIAL” or “CONFIDENTIAL INFORMATION”; and any

such physical objects shall likewise be identified with the “CONFIDENTIAL” or

“CONFIDENTIAL INFORMATION” designation.

      5.      In designating information as CONFIDENTIAL, each party shall make

such designation only as to that information that it, in good faith, believes contains

confidential information.

      6.      This Order shall not affect the right, if any, of any party or witness to

make any other type of objection, claim, or other response to discovery requests,

including, without limitation, interrogatories, requests for admissions, requests for

production of documents, deposition notices, subpoenas, or questions at a

deposition.




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      7.     The designation of confidentiality can be made at any time after entry

of this Order. Any document or physical object so labeled, or portion thereof, and

the information contained in such document or object, will be treated in accordance

with the terms of this Order. The disclosure of CONFIDENTIAL INFORMATION

shall be limited to the specific types of Qualified Persons as specified in Paragraph

8. Unless identified or marked in accordance with either this Paragraph or under

Paragraph 11, any confidentiality is waived unless otherwise stipulated or ordered.

Information, documents or other tangible things to which such notice cannot be

affixed may be designated, in writing, in any manner sufficient to give notice thereof.

      8.     With respect to any materials designated as CONFIDENTIAL

INFORMATION, “Qualified Person” shall mean:

      (a)    The Parties and all attorneys, including their staff, representing a party

      with respect to this litigation, and other attorneys within their respective law

      firms, and their staffs to whom it is necessary that material be disclosed for

      the purposes of this litigation, including commercial copiers, draftsmen, etc.;

      (b)    Bona Fide independent experts or consultants retained solely for the

      purpose of assisting legal counsel in the conducting of this litigation who have

      a need to know such CONFIDENTIAL INFORMATION and who have, in

      advance of disclosure, executed the undertaking of Exhibit “A” in accordance

      with Paragraph 9;



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      (c)    Any witness testifying under oath who is an employee, officer or

      director of the party who produced such CONFIDENTIAL INFORMATION;

      (d)    Any witness testifying under oath who was previously (i) an employee,

      officer, or director of the party who produced such CONFIDENTIAL

      INFORMATION,            but    only     with    respect   to   CONFIDENTIAL

      INFORMATION to which such person or entity had actual access at any time

      during his or her association to the party or which such person participated in

      preparing; and

      (e)    Stenographic reporters, certified translators or interpreters, and

      Arbitrator personnel as are necessarily incident to the conduct of discovery,

      the preparation for the trial or the trial itself.

      9.     No CONFIDENTIAL INFORMATION shall be disclosed to any

persons designated under Paragraphs 8(b) or 8(d) unless and until:

      (a)    disclosing counsel first informs such recipient that the material to be

      disclosed is CONFIDENTIAL INFORMATION, is to be held in confidence,

      is to be used solely for the purposes of preparing and presenting evidence in

      this litigation, and is required to be kept confidential by Court order; and

      (b)    persons designated under Paragraphs 8(b), prior to the disclosure to him

      of any CONFIDENTIAL INFORMATION, executes a copy of the

      undertaking attached hereto as Exhibit “A”.



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Copies of the undertakings executed pursuant to this Paragraph shall be maintained

by respective counsel procuring same, together with the names and current addresses

of such persons.

       10.    None of the aforesaid individuals under Paragraph 8 shall disclose or

disseminate, directly or indirectly, any CONFIDENTIAL INFORMATION for any

purpose except as may be permitted by this Order or by further Order of the Court.

All CONFIDENTIAL INFORMATION produced or provided in the course of this

litigation shall be used solely for the purposes of settlement, preparing for the trial,

the actual trial itself, any appeal, and for no other purpose whatsoever and shall not

be disclosed to anyone except in accordance with the terms of this Order. Nothing

in this Order shall bar or otherwise restrict any attorney herein from rendering advice

to his client with respect to this trial and, in the course thereof, referring to or relying

upon his examination of CONFIDENTIAL INFORMATION; provided, however,

that in rendering such advice and in otherwise communicating with his client, the

attorney shall not make any disclosure of CONFIDENTIAL INFORMATION until

and unless said recipient qualifies as a “Qualified Person” respectively entitled to

review the information.

       11.    In the case of depositions upon oral examination of any person

(including any party pursuant to Rule 30(b)(6) of the Federal Rules of Civil

Procedure, a party’s employees or agents, former employees or agents, consultants



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or experts of Plaintiff or Defendant, or others), a party may designate portions of the

examination CONFIDENTIAL INFORMATION. With respect to portions of the

examination designated CONFIDENTIAL INFORMATION, only persons

designated in Paragraph 8 will be allowed to attend those portions of the deposition.

If, after a deposition, counsel for Plaintiff or Defendant believes that the deposition

transcript contains CONFIDENTIAL INFORMATION, counsel shall make such

designations to opposing counsel, in writing. All deposition transcripts shall be

treated as CONFIDENTIAL INFORMATION until after expiration of the thirty (30)

business day period. Once a party has used confidential documents or information

at the deposition of any witness, regardless of whether such use is under the

undertaking of Exhibit “A” or not, the other party may use said confidential

documents or information in its examination of the same witness deponent without

any further action.

      12.       Any information designated as CONFIDENTIAL INFORMATION

shall not be made available to persons other than (a) Qualified Persons, (b) the party

who produced such information, and (c) the Court under seal, where appropriate (see

Doc. 8 at 9).

      13.       Nothing shall prevent disclosure beyond the terms of this Order if the

party designating the information as CONFIDENTIAL INFORMATION consents




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to such disclosure in writing, or if the Court, after notice and reasonable time to

object is given to all Parties, orders such disclosure.

      14.    Nothing in this stipulated Protective Order shall require disclosure of

any material which counsel for Plaintiff or Defendant contend is protected from

disclosure by the attorney-client privilege or the attorney work-product privilege.

This Order shall not affect the right, if any, of any party or witness to make any other

type of objection, claim, or other response to discovery requests, including, without

limitation, interrogatories, requests for admission, requests for production of

documents, deposition notices, or questions at a deposition.

      15.    A party shall not be obligated to challenge the propriety nature of a

CONFIDENTIAL INFORMATION designation at the time made, and a failure to

do so shall not preclude a subsequent challenge thereto. In the event that any party

to this action disagrees at any stage of these proceedings with the designation by the

producing party of CONFIDENTIAL INFORMATION, the Parties shall first try to

dispose of such dispute in good faith on an informal basis. If the dispute cannot be

resolved after a good faith effort, the party objecting to the designation may, at any

time thereafter, seek appropriate relief from the Court in accordance with the Court’s

Order issued on June 29, 2022. (See Doc. 8 at 8.) The Parties expressly agree that

the challenged designation shall be maintained and shall remain in full force and

effect pending the Court’s determination of the challenged designation.



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      16.    Pursuant to the Court’s Order issued on June 29, 2022 (see Doc. 8 at 9),

the Parties understand that if any party seeks to file any document or thing designated

as CONFIDENTIAL INFORMATION, that party must make an independent

analysis of whether said document or thing should be sealed from public disclosure.

The Parties further understand that it is not sufficient reasoning to solely rely on the

CONFIDENTIAL INFORMATION designation of a document or thing when

seeking to have a filing sealed. Accordingly, any party filing with the Court

documents or things designated as CONFIDENTIAL INFORMATION and such

documents or things require protection from public disclosure, shall follow the

applicable rules for having the items in question designated as part of the record

under seal. Any sealed pleadings or materials must be accompanied by a specific

order providing for the sealed filing of that pleading or the materials.

      17.    Insofar as the provisions of any Protective Order entered in this

litigation restrict the communication and use of the documents and other information

produced thereunder, such Order shall continue to be binding after the conclusion of

this litigation, with all counsel, the Parties herein, their officers, employees and any

other recipients of the CONFIDENTIAL INFORMATION, remaining subject to the

obligations of this Order.

      18.    Any party who requests additional limits on disclosure, such as

“attorneys’ eyes only,” may at any time before the trial of this action serve upon



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counsel for the recipient a written notice stating with particularity the grounds of the

request. If the Parties cannot reach agreement promptly, counsel for all affected

Parties will address their dispute to this Court in accordance with the Court’s Order

issued on June 29, 2022. (See Doc. 8 at 8.)

      19.    This Order may be modified by further written stipulation signed by the

undersigned attorneys, or by further order of the Court. Nothing in this Order shall

be deemed to preclude any party from seeking a modification of this Order or an

additional protective order.

      20.    Neither this Order nor the designation of any material as

“CONFIDENTIAL INFORMATION” shall be construed as any admission that such

information, document or other tangible thing is confidential or that such material,

or any testimony relating to such material, in a deposition or at trial, would be

admissible in evidence in this case or in any other proceeding.

      21.    On final determination of this action, each party and other person

subject to the terms hereof shall assemble and destroy, or return to the producing

party, within thirty (30) days following the conclusion of these proceedings, all

materials, documents and things constituting CONFIDENTIAL INFORMATION,

all copies, summaries and abstracts thereof and all other materials, memoranda or

documents constituting or containing CONFIDENTIAL INFORMATION except

that attorneys for each party may retain one set of pleadings, including transcripts of



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testimony and exhibits filed with the Court, deposition transcripts, and deposition

exhibits. If destroyed, such party shall certify to the producing party the destruction

of all such materials. Anything to the contrary in this Paragraph 21 notwithstanding,

attorney’s work product shall not be subject to the provisions of Paragraph 21.

      22.    Nothing herein shall prohibit the use of any document or information,

regardless of classification as CONFIDENTIAL INFORMATION, at any hearing,

trial, deposition, or other proceeding in this action.

                           CLAWBACK PROVISIONS

      23.    The Parties incorporate Paragraphs 1-22 and have agreed to the

following regarding the inadvertent disclosure of documents (the “Clawback

Provisions”):

      (a)    Any inadvertent disclosure or production of documents protected by the

attorney-client privilege or work-product protection shall not constitute a waiver of

either any available privilege or protection by the disclosing party.

      (b)    In the event that the receiving party discovers that it has received either

attorney-client privilege or work-product-protected documents, it shall bring that

fact to the attention of the producing party immediately upon that discovery.

      (c)    Upon the request of the producing party, the receiving party shall

promptly return any attorney-client privilege or work-product-protected document

and any copies which the receiving party may have made thereof to the producing


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party. Return of the allegedly privileged information in no way prejudices or impairs

the returning party’s rights to challenge the privilege contention of the producing

party or non-party.

       (d)    Upon the request of the producing party, the receiving party will

promptly disclose the names of any individuals who have read or have had access to

the attorney-client privilege or work-product-protected document.

       (e)    No such inadvertently produced attorney-client privilege or work-

product-protected document may be used in evidence against the producing party.

       (f)    In the event that either party must seek judicial enforcement –in

accordance with the Court’s order issued on February 11, 2020 (See Doc. 9 at 2) –

of the Clawback Provisions, the costs and reasonable attorney’s fees of the party

seeking enforcement will be paid by the party against whom such enforcement must

be sought, but only in the event that the Court finds the existence of a valid privilege

and grants enforcement of the Clawback Provisions by ordering the return and non-

evidentiary use of the produced document.

       24.    The terms and conditions in this Order, relative to all information,

including all documents and things produced, and all deposition testimony generated

hereunder, shall survive and remain in full force and effect after the termination of

this litigation.




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      25.   By the signatures of their respective counsel affixed below, each of the

Parties warrants that it knowingly and willingly enters into this Order and

acknowledge that all Parties will follow the terms of this Order upon execution of

this document by their counsel (both prior to and after the Order is entered by the

Court).


      IT IS SO ORDERED this 23rd day of November 2022.



                               s/Clay D. Land
                               HONORABLE CLAY D. LAND
                               UNITED STATES DISTRICT COURT JUDGE


CONSENTED TO:


 LEGARE, ATTWOOD, &                       GORDON REES SCULLY
 WOLFE, LLC                               MANSUKHANI, LLP

 /s/ Cheryl B. Legare                     /s/ Leslie K Eason
 Cheryl B. Legare                         Leslie K. Eason
 Georgia Bar No. 038553                   Georgia Bar No. 100186
 Decatur Town Center Two                  Tiffany N. Taylor
 125 Clairemont Avenue, Suite 380         Georgia Bar No. 948812
 Decatur, Georgia 30030                   55 Ivan Allen Jr. Blvd., Suite 750
 Telephone: (470) 823-4000                Atlanta, Georgia 30308
 cblegare@law-llc.com                     Telephone: (404) 978-7329
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 Counsel for Plaintiff Andre Daniels      leason@grsm.com
                                          ttaylor@grsm.com

                                          Counsel for Defendant Baxalta US,
                                          Inc.


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                                      Exhibit A

       AGREEMENT CONCERNING MATERIAL COVERED BY
 A STIPULATION OF CONFIDENTIALITY AND PROTECTIVE ORDER

        I, the undersigned, hereby acknowledge that I have read the attached Order

entered _______________, 2022 and understand the terms thereof and agree to be

bound by all such terms.

        Without limiting the generality of the foregoing, I agree not to copy, disclose

to, or discuss with, any person or entity not authorized to receive such

“CONFIDENTIAL INFORMATION,” pursuant to the terms of said Order, any

document or any information designated as “CONFIDENTIAL INFORMATION,”

or any copies of extracts or information derived therefrom, which has been disclosed

to me. I further agree to use any information disclosed to me in connection with the

case solely for the purposes of the above-mentioned case and for no other purposes.

        I understand that the use of any “CONFIDENTIAL INFORMATION” or

document in any manner contrary to the provisions of the Order may subject me to

sanctions.

Date:                                   Signature:

Type or print name:_________________


Date:                                   Signature:

Type or print name:________________

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